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               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

APERION CARE, INC.,1                                         *
as Authorized Representative of:
Francisca Delgado,                                           *

BRIA HEALTH SERVICES, LLC,                                   *
as Authorized Representative of:
Winnie Boykin,                                               *
Karen Brown,
Joseph Klimas,                                               *
Cynthia Little,
Sandra McDonald,                                             *
Wilbert Spencer,
Anthony Caldwell,                                            *
Larry Cummings,
Steven Ratcliff,                                             *
Orlandus Searcy,
                                                             *
EVEREST CARE GROUP, LLC,
as Authorized Representative of:                             *
Dwight Akins,
Donald Murczek,                                              *
Derrick Griffin,
Theodore Barnes,                                             *
David Pitre,
Hazel Brand,                                                 *

GRAND LIFESTYLES, LLC,                                       *
as Authorized Representative of:
Juan Beard,                                                  *
Lee Thirsty,
ICARE FINANCIAL SERVICES, INC.,                              *
as Authorized Representative of:
Trudy Khan,                                                  *

ITEX COMPANY, INC.                                           *
as Authorized Representative of:
Victorina Cruz,                                              *

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         Federal law requires state agencies to permit applicants and beneficiaries to designate an
individual or organization to act responsibly on their behalf in assisting with the individual’s
application and renewal of eligibility and other ongoing communications with the state agency
responsible for issuing determinations on Medicaid eligibility. See 42 C.F.R. § 435.923.
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Miguel Catala,                                     *
Claudia Hale,
                                                   *
LEGACY HEALTHCARE
FINANCIAL SERVICES, LLC,                           *
as Authorized Representative of:
Cecil Gittens,                                     *
Harry Mueller,
Glenda Buchholtz,                                  *

MAESTRO CONSULTING SERVICES, LLC                   *
a/k/a Symphony Post-Acute Network
as Authorized Representative of:                   *
Barbara Craddock,
Daryl Jones,                                       *
Crystal Garrett,
Kirk Lis,                                          *
Dannah Norwood,
                                                   *
VILLA FINANCIAL SERVICES, LLC,
as Authorized Representative of:                   *
Idella Adell,
Helen Emerson,                                     *
Sophie Krasula,
Johnnie King,                                      *
James Hubbard,
Luvenia Stevenson,                                 *

                          PLAINTIFFS,              *

PLAINTIFFS ARE CLASS REPRESENTATIVES               *
OF THE PLAINTIFFS’ CLASS THEY SEEK TO
REPRESENT,                                         *

v.                                                 *

FELICIA F. NORWOOD, in her official                *
capacity as the Director of the
Illinois Department of Healthcare                  *
and Family Services,
                                                   *
AETNA MEDICAID ADMINISTRATORS, LLC
d/b/a AETNA BETTER HEALTH, INC.                    *
333 West Wacker Drive
Chicago, Illinois 60606                            *


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MERIDIAN HEALTH PLAN, Inc.
333 South Wabash Ave., Suite 2900                    *
Chicago, Illinois 60604
                                        *
COMMUNITY CARE ALLIANCE OF ILLIOIS, LLC
322 S. Green Street, Suite 400          *
Chicago, Illinois 60607
                                        *
HEALTHCARE SERVICE CORPORATION, d/b/a
BLUE CROSS BLUE SHIELD OF ILLINOIS,     *
225 N. Michigan Ave.
Chicago, Illinois 60601                 *

ILLINICARE HEALTH PLAN, INC.                         *
208 S. LaSalle St., Suite 814
Chicago, Illinois 60604                              *

COOK COUNTY, and COOK COUNTY HEALTH                  *
AND HOSPITALS SYSTEM, and
COUNTYCARE HEALTH PLAN                               *
1900 West Polk Ave., Suite 220
Chicago, Illinois 60612                              *

NEXTLEVEL HEALTH PARTNERS, INC.                      *
303 W. Madison, Suite 1110
Chicago, Illinois 60606                              *

WELLCARE HEALTH PLANS, INC.                          *
d/b/a Harmony
29 North Wacker Drive                                *
Chicago, Illinois 60606
                                                     *
CIGNA CORPORATION,
d/b/a Cigna-HealthSpring CarePlan of Illinois,       *
208 S. LaSalle St., Suite 804
Chicago, Illinois 60604                              *

HUMANA, INC.                                         *
801 Adlai Stevenson Drive.
Springfield, Illinois 62703                          *

MOLINA HEALTHCARE OF ILLINOIS, INC.                  *
801 Adlai Stevenson Drive.
Springfield, Illinois 62703                          *

                                                     *

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                                DEFENDANTS.
                                                              *

COMPLAINT FOR DECLARATORY JUDGMENT, PRELIMINARY AND
            PERMANENT INJUNCTIVE RELIEF

                         I.         PRELIMINARY STATEMENT

       As a condition of receiving federal funds, the State of Illinois is required to operate the

Medicaid program in compliance with the Social Security Act and implementing regulations,

pursuant to 42 U.S.C. § 1396(c). This case concerns the failure of Defendant, Felicia F. Norwood

(“Defendant” and/or “Norwood”), the Director of the Illinois Department of Healthcare and

Family Services (“Defendant” and/or “HFS”) and certain entities which have contracted with HFS

to provide Medicaid to residents of Illinois (“Defendant” and/or “Defendant MCOs”) to comply

with their obligations to afford Medicaid benefits to residents in skilled nursing and/or supportive

living facilities in compliance with the federal rules and regulations of the United States.

Defendants are directly responsible for policies necessary for the implementation of a system for

determination of providing Medicaid benefits that complies, in all aspects, with federal law. The

failures by the Defendants to grant and provide for Medicaid benefits to residents of skilled nursing

and/or supportive living facilities who are eligible for Medicaid benefits constitute violations of

the Federal Medicaid Act and implementing regulations at 42 USC § 1396u-2, 42 C.F.R. § 438.10,

and 42 .U..SC § 1396(a), § 1902(a)(37)(a).

                              II.    JURISDICTION AND VENUE

       This action arises under the Federal Medicaid Act and implementing regulations at 42

U.S.C. § 1396u-2, 42 C.F.R. § 438.10, and 42 U.S.C. § 1396(a), § 1902(a)(37)(a) and Americans

with Disabilities Act (“ADA”), and 42 U.S.C. § 12131 et seq. Declaratory relief is sought pursuant

to 28 U.S.C. §§ 2201 and 2202. The jurisdiction of this court is invoked pursuant to 28 U.S.C.


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§§1331, 1343(k) and 28 U.S.C. §§2201 and 2202. Additionally, the jurisdiction of this court is

invoked to secure protection to redress the deprivation under color of state law, statute, custom

and/or usage of a right, privilege and/or immunity secured to the Plaintiffs by the Fourteenth

Amendment to the Constitution of the United States, the Equal Protection Clause, 42 U.S.C.

§1983. Venue lies in this forum pursuant to 28 U.S.C. § 1391(e).

                                            III.    PARTIES

        1.      Aperion Care, Inc. is headquartered in Lincolnwood, Illinois. Aperion Care, Inc.

provides financial and business consulting services to a network of skilled nursing home facilities in

Illinois, referred to as the Aperion network (“Aperion” and/or “Facility”). Aperion provides long-term

care nursing facility services to disabled, insolvent residents of Illinois, such as the Class

Representatives in this matter.

        2.      Bria Health Services, LLC is headquartered in Skokie, Illinois. Bria Health Services,

LLC provides financial and business consulting services to a network of skilled nursing home facilities

in Illinois, referred to as the Bria network (“Bria” and/or “Facility”). Bria provides long-term care

nursing facility services to disabled, insolvent residents of Illinois, such as the Class Representatives in

this matter.

        3.      Everest Care Group, LLC is headquartered in Skokie, IL. Everest Care Group, LLC

provides financial and business consulting services to a network of skilled nursing home facilities in

Illinois, referred to as the Everest network (“Everest” and/or “Facility”). Everest provides long-term

care nursing facility services to disabled, insolvent residents of Illinois, such as the Class

Representatives in this matter.

        4.      Grand Lifestyles, LLC is headquartered in Skokie, IL. Grand Lifestyles, LLC provides

financial and business consulting services to a network of supportive living facilities in Illinois, referred



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to as the Grand Lifestyles network (“Grand Lifestyles” and/or “Facility”). Grand Lifestyles provides

supportive living facility services to disabled and/or insolvent residents of Illinois, such as the Class

Representatives in this matter.

        5.      ICare Financial Services, Inc. is headquartered in Skokie, Illinois. ICare Financial

Services, Inc. provides financial and business consulting services to a network of skilled nursing home

facilities in Illinois, referred to as the ICare network (“ICare” and/or “Facility”). ICare provides long-

term care nursing facility services to disabled, insolvent residents of Illinois, such as the Class

Representatives in this matter.

        6.      ITEX Company, Inc. is headquartered in Lincolnwood, Illinois. ITEX Company, Inc.

provides financial and business consulting services to a network of skilled nursing home facilities in

Illinois, referred to as the Harmony network (“Harmony” and/or “Facility”). Harmony provides long-

term care nursing facility services to disabled, insolvent residents of Illinois, such as the Class

Representatives in this matter.

        7.      Legacy Healthcare Financial Services, LLC is headquartered in Skokie, Illinois. Legacy

Healthcare Financial Services, LLC provides financial and business consulting services to a network of

skilled nursing home facilities in Illinois, referred to as the Legacy network (“Legacy” and/or

“Facility”). Legacy provides long-term care nursing facility services to disabled, insolvent residents of

Illinois, such as the Class Representatives in this matter.

        8.      Maestro Consulting Services, LLC is headquartered in Lincolnwood, Illinois. Maestro

Consulting Services, LLC provides financial and business consulting services to a network of skilled

nursing home facilities in Illinois, referred to as the Symphony Post-Acute network (“Symphony”

and/or “Facility”). Symphony provides long-term care nursing facility services to disabled, insolvent

residents of Illinois, such as the Class Representatives in this matter.



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        9.      Villa Financial Services, LLC is headquartered in Skokie, IL. Villa Financial

Services, LLC provides financial and business consulting services to a network of skilled nursing home

facilities in Illinois, referred to as the Villa network (“Villa” and/or “Facility”). Villa provides long-

term care nursing facility services to disabled, insolvent residents of Illinois, such as the Class

Representatives in this matter.

        10.     Certain individual residents who are approved to receive long-term care Medicaid

benefits, who receive nursing facility services and/or supportive living services and/or medical care at

a supportive living facility and/or nursing home facility, who are approved Medicaid beneficiaries

pursuant to a contract for Medicaid benefits between skilled nursing home facilities and/or supportive

living facilities, and Defendant MCOs, who have submitted clean claims for services, and for whom

Defendant MCOs have not rendered payment for approved benefits and/or provided for the medical

and/or Medicaid services as it is required to pursuant to the Federal Medicaid Act:

                        a. Francisca Delgado was admitted to an Aperion skilled nursing facility on or

                            about May 20, 2008 (“Delgado” or “Plaintiff”). Delgado suffers from

                            paranoid schizophrenia, type 2 diabetes, and cardiac murmur, among other

                            severe medical conditions. She requires twenty-four hour skilled nursing

                            care at an Aperion facility. Delgado was approved to receive long-term care

                            Medicaid benefits at Aperion.        Pursuant to Medicaid eligibility and

                            approval, and/or a Medicaid MCO contract with Aetna Better Health,

                            Delgado submitted claims for necessary nursing facility services/medical

                            expenses to Aetna Better Health. Aetna Better Health has failed to provide

                            to Delgado timely payment for nursing facility services and/or necessary

                            medical care expenses pursuant to clean claims submitted to Aetna Better



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                 Health for payment. Delgado has a significant outstanding balance owed to

                 Aperion as a result of long-term care and nursing facility services provided

                 to her by Aperion.

              b. Winnie Boykin was admitted to a Bria skilled nursing facility on or about

                 February 27, 2013 (“Boykin” or “Plaintiff”). Boykin suffers from chronic

                 obstructive pulmonary disease, blindness out of both eyes, post traumatic

                 seizures, and cognitive social or emotional deficit following cerebral

                 infarction, among other severe medical conditions. She requires twenty-

                 four hour skilled nursing care at a Bria facility. Boykin was approved to

                 receive long-term care Medicaid benefits at Bria. Pursuant to Medicaid

                 eligibility and approval, and/or a Medicaid MCO contract with Meridian

                 Health, Boykin submitted claims for necessary nursing facility

                 services/medical expenses to Meridian Health. Meridian Health has failed

                 to provide to Boykin timely payment for nursing facility services and/or

                 necessary medical care expenses pursuant to clean claims submitted to

                 Meridian Health for payment. Boykin has a significant outstanding balance

                 owed to Bria as a result of long-term care and nursing facility services

                 provided to her by Bria.

              c. Karen Brown was admitted to a Bria skilled nursing facility on or about July

                 3, 2015 (“Brown” or “Plaintiff”). Brown suffers from difficulty in walking,

                 history of falling, type 2 diabetes, chronic kidney disease, and cognitive

                 communication deficit, among other severe medical conditions.           She

                 requires twenty-four hour skilled nursing care at a Bria facility. Brown was



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                 approved to receive long-term care Medicaid benefits at Bria. Pursuant to

                 Medicaid eligibility and approval, and/or a Medicaid MCO contract with

                 Aetna Better Health, Brown submitted claims for necessary nursing facility

                 services/medical expenses to Aetna Better Health. Aetna Better Health has

                 failed to provide to Brown timely payment for nursing facility services

                 and/or necessary medical care expenses pursuant to clean claims submitted

                 to Aetna Better Health for payment. Brown has a significant outstanding

                 balance owed to Bria as a result of long-term care and nursing facility

                 services provided to her by Bria.

              d. Joseph Klimas was admitted to a Bria skilled nursing facility on or about

                 September 29, 2015 (“Klimas” or “Plaintiff”).        Klimas suffers from

                 schizophrenia, convulsions, osteoarthritis, and muscle weakness, among

                 other severe medical conditions. He requires twenty-four hour skilled

                 nursing care at a Bria facility. Klimas was approved to receive long-term

                 care Medicaid benefits at Bria. Pursuant to Medicaid eligibility and

                 approval, and/or a Medicaid MCO contract with Aetna Better Health,

                 Klimas submitted claims for necessary nursing facility services/medical

                 expenses to Aetna Better Health. Aetna Better Health has failed to provide

                 to Klimas timely payment for nursing facility services and/or necessary

                 medical care expenses pursuant to clean claims submitted to Aetna Better

                 Health for payment. Klimas has a significant outstanding balance owed to

                 Bria as a result of long-term care and nursing facility services provided to

                 him by Bria.



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               e. Cynthia Little was admitted to a Bria skilled nursing facility on or about

                  June 6, 2017 (“Little” or “Plaintiff”). Little suffers from chronic kidney

                  disease, diabetes mellitus, major depressive disorder, and hypothyroidism,

                  among other severe medical conditions. She requires twenty-four hour

                  skilled nursing care at a Bria facility. Little was approved to receive long-

                  term care Medicaid benefits at Bria. Pursuant to Medicaid eligibility and

                  approval, and/or a Medicaid MCO contract with Meridian Health, Little

                  submitted claims for necessary nursing facility services/medical expenses

                  to Meridian Health. Meridian Health has failed to provide to Little timely

                  payment for nursing facility services and/or necessary medical care

                  expenses pursuant to clean claims submitted to Meridian Health for

                  payment. Little has a significant outstanding balance owed to Bria as a

                  result of long-term care and nursing facility services provided to her by Bria.

               f. Sandra McDonald was admitted to a Bria skilled nursing facility on or about

                  November 16, 2014 (“McDonald” or “Plaintiff”). McDonald suffers from

                  schizophrenia, major depressive disorder, osteoporosis, and muscle

                  weakness, among other severe medical conditions. She requires twenty-

                  four hour skilled nursing care at a Bria facility. McDonald was approved to

                  receive long-term care Medicaid benefits at Bria. Pursuant to Medicaid

                  eligibility and approval, and/or a Medicaid MCO contract with Meridian

                  Health, McDonald submitted claims for necessary nursing facility

                  services/medical expenses to Meridian Health. Meridian Health has failed

                  to provide to McDonald timely payment for nursing facility services and/or



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                  necessary medical care expenses pursuant to clean claims submitted to

                  Meridian Health for payment. McDonald has a significant outstanding

                  balance owed to Bria as a result of long-term care and nursing facility

                  services provided to her by Bria.

               g. Wilbert Spencer was admitted to a Bria skilled nursing facility on or about

                  October 11, 2016 (“Spencer” or “Plaintiff”).         Spencer suffers from

                  dementia, muscle weakness, and chronic kidney disease, among other

                  severe medical conditions. He requires twenty-four hour skilled nursing

                  care at a Bria facility. Spencer was approved to receive long-term care

                  Medicaid benefits at Bria. Pursuant to Medicaid eligibility and approval,

                  and/or a Medicaid MCO contract with Aetna Better Health, Spencer

                  submitted claims for necessary nursing facility services/medical expenses

                  to Aetna Better Health. Aetna Better Health has failed to provide to Spencer

                  timely payment for nursing facility services and/or necessary medical care

                  expenses pursuant to clean claims submitted to Aetna Better Health for

                  payment. Spencer has a significant outstanding balance owed to Bria as a

                  result of long-term care and nursing facility services provided to him by

                  Bria.

               h. Anthony Caldwell was admitted to a Bria skilled nursing facility on or about

                  June 2, 2017 (“Caldwell” or “Plaintiff”). Caldwell suffers from paranoid

                  schizophrenia and visual loss, right eye, among other severe medical

                  conditions. He requires twenty-four hour skilled nursing care at a Bria

                  facility. Caldwell was approved to receive long-term care Medicaid benefits



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                  at Bria. Pursuant to Medicaid eligibility and approval, and/or a Medicaid

                  MCO contract with Molina, Caldwell submitted claims for necessary

                  nursing facility services/medical expenses to Molina. Molina has failed to

                  provide to Caldwell timely payment for nursing facility services and/or

                  necessary medical care expenses pursuant to clean claims submitted to

                  Molina for payment. Caldwell has a significant outstanding balance owed

                  to Bria as a result of long-term care and nursing facility services provided

                  to him by Bria.

               i. Larry Cummings was admitted to a Bria skilled nursing facility on or about

                  April 9, 2013 (“Cummings” or “Plaintiff”). Cummings suffers from

                  vascular dementia, schizoaffective disorder, muscle weakness, and history

                  of falling, among other severe medical conditions. He requires twenty-four

                  hour skilled nursing care at a Bria facility. Cummings was approved to

                  receive long-term care Medicaid benefits at Bria. Pursuant to Medicaid

                  eligibility and approval, and/or a Medicaid MCO contract with Molina,

                  Cummings submitted claims for necessary nursing facility services/medical

                  expenses to Molina. Molina has failed to provide to Cummings timely

                  payment for nursing facility services and/or necessary medical care

                  expenses pursuant to clean claims submitted to Molina for payment.

                  Cummings has a significant outstanding balance owed to Bria as a result of

                  long-term care and nursing facility services provided to him by Bria.

               j. Steven Ratcliff was admitted to a Bria skilled nursing facility on or about

                  March 27, 2014 (“Ratcliff” or “Plaintiff”).         Ratcliff suffers from



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                  Alzheimer’s disease, schizoaffective disorder, muscle weakness, and

                  difficulty in walking, among other severe medical conditions. He requires

                  twenty-four hour skilled nursing care at a Bria facility. Ratcliff was

                  approved to receive long-term care Medicaid benefits at Bria. Pursuant to

                  Medicaid eligibility and approval, and/or a Medicaid MCO contract with

                  Molina, Ratcliff submitted claims for necessary nursing facility

                  services/medical expenses to Molina. Molina has failed to provide to

                  Ratcliff timely payment for nursing facility services and/or necessary

                  medical care expenses pursuant to clean claims submitted to Molina for

                  payment. Ratcliff has a significant outstanding balance owed to Bria as a

                  result of long-term care and nursing facility services provided to him by

                  Bria.

               k. Orlandus Searcy was admitted to a Bria skilled nursing facility on or about

                  January 11, 2017 (“Searcy” or “Plaintiff”).         Searcy suffers from

                  osteoarthritis, amputation of right lower leg, muscle weakness, and

                  schizophrenia, among other severe medical conditions. He requires twenty-

                  four hour skilled nursing care at a Bria facility. Searcy was approved to

                  receive long-term care Medicaid benefits at Bria. Pursuant to Medicaid

                  eligibility and approval, and/or a Medicaid MCO contract with Molina,

                  Searcy submitted claims for necessary nursing facility services/medical

                  expenses to Molina. Molina has failed to provide to Searcy timely payment

                  for nursing facility services and/or necessary medical care expenses

                  pursuant to clean claims submitted to Molina for payment. Searcy has a



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                  significant outstanding balance owed to Bria as a result of long-term care

                  and nursing facility services provided to him by Bria.

               l. Dwight Akins was admitted to an Everest skilled nursing facility on or about

                  March 13, 2017 (“Akins” or “Plaintiff”).        Akins suffers from type 2

                  diabetes, abnormalities of gait and mobility, and gangrene, among other

                  severe medical conditions. He requires twenty-four hour skilled nursing

                  care at an Everest facility. Akins was approved to receive long-term care

                  Medicaid benefits at Everest. Pursuant to Medicaid eligibility and approval,

                  and/or a Medicaid MCO contract with NextLevel, Akins submitted claims

                  for necessary nursing facility services/medical expenses to NextLevel.

                  NextLevel has failed to provide to Akins timely payment for nursing facility

                  services and/or necessary medical care expenses pursuant to clean claims

                  submitted to NextLevel for payment. Akins has a significant outstanding

                  balance owed to Everest as a result of long-term care and nursing facility

                  services provided to him by Everest.

               m. Donald Murczek was admitted to an Everest skilled nursing facility on or

                  about December 21, 2015 (“Murczek” or “Plaintiff”).        Murczek suffers

                  from cognitive communication deficit, muscle weakness, and chronic

                  kidney disease, among other severe medical conditions. He requires

                  twenty-four hour skilled nursing care at an Everest facility. Murczek was

                  approved to receive long-term care Medicaid benefits at Everest. Pursuant

                  to Medicaid eligibility and approval, and/or a Medicaid MCO contract with

                  Meridian, Murczek submitted claims for necessary nursing facility



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                  services/medical expenses to Meridian. Meridian has failed to provide to

                  Murczek timely payment for nursing facility services and/or necessary

                  medical care expenses pursuant to clean claims submitted to Meridian for

                  payment. Murczek has a significant outstanding balance owed to Everest

                  as a result of long-term care and nursing facility services provided to him

                  by Everest.

               n. Derrick Griffin was admitted to an Everest skilled nursing facility on or

                  about June 12, 2017 (“Griffin” or “Plaintiff”).       Griffin suffers from

                  cognitive communication deficit, muscle weakness, and chronic kidney

                  disease, among other severe medical conditions. He requires twenty-four

                  hour skilled nursing care at an Everest facility. Griffin was approved to

                  receive long-term care Medicaid benefits at Everest. Pursuant to Medicaid

                  eligibility and approval, and/or a Medicaid MCO contract with CountyCare,

                  Griffin submitted claims for necessary nursing facility services/medical

                  expenses to CountyCare. CountyCare has failed to provide to Griffin timely

                  payment for nursing facility services and/or necessary medical care

                  expenses pursuant to clean claims submitted to CountyCare for payment.

                  Griffin has a significant outstanding balance owed to Everest as a result of

                  long-term care and nursing facility services provided to him by Everest.

               o. Theodore Barnes was admitted to an Everest skilled nursing facility on or

                  about April 3, 2017 (“Barnes” or “Plaintiff”). Barnes suffers from severe

                  medical conditions. He requires twenty-four hour skilled nursing care at an

                  Everest facility. Barnes was approved to receive long-term care Medicaid



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                  benefits at Everest. Pursuant to Medicaid eligibility and approval, and/or a

                  Medicaid MCO contract with NextLevel, Barnes submitted claims for

                  necessary nursing facility services/medical expenses to NextLevel.

                  NextLevel has failed to provide to Barnes timely payment for nursing

                  facility services and/or necessary medical care expenses pursuant to clean

                  claims submitted to NextLevel for payment. Barnes has a significant

                  outstanding balance owed to Everest as a result of long-term care and

                  nursing facility services provided to him by Everest.

               p. Hazel Brand was admitted to an Everest skilled nursing facility on or about

                  April 21, 2017 (“Brand” or “Plaintiff”). Brand suffers from viral hepatitis

                  C, among other severe medical conditions. She requires twenty-four hour

                  skilled nursing care at an Everest facility. Brand was approved to receive

                  long-term care Medicaid benefits at Everest.        Pursuant to Medicaid

                  eligibility and approval, and/or a Medicaid MCO contract with CountyCare,

                  Brand submitted claims for necessary nursing facility services/medical

                  expenses to CountyCare. CountyCare has failed to provide to Brand timely

                  payment for nursing facility services and/or necessary medical care

                  expenses pursuant to clean claims submitted to CountyCare for payment.

                  Brand has a significant outstanding balance owed to Everest as a result of

                  long-term care and nursing facility services provided to her by Everest.

               q. David Pitre was admitted to an Everest skilled nursing facility on or about

                  2017 (“Pitre” or “Plaintiff”). Pitre suffers from severe medical conditions.

                  He requires twenty-four hour skilled nursing care at an Everest facility.



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                  Pitre was approved to receive long-term care Medicaid benefits at Everest.

                  Pursuant to Medicaid eligibility and approval, and/or a Medicaid MCO

                  contract with WellCare, Pitre submitted claims for necessary nursing

                  facility services/medical expenses to WellCare. WellCare has failed to

                  provide to Pitre timely payment for nursing facility services and/or

                  necessary medical care expenses pursuant to clean claims submitted to

                  WellCare for payment. Pitre has a significant outstanding balance owed to

                  Everest as a result of long-term care and nursing facility services provided

                  to him by Everest.

               r. Juan Beard was admitted to a Grand Lifestyles supportive living facility on

                  or about August 26, 2016 (“Beard” or “Plaintiff”). Beard suffers from

                  severe medical conditions. He requires medical care and assistance at a

                  Grand Lifestyles supportive living facility. Beard was approved to receive

                  long-term care Medicaid benefits at Grand Lifestyles. Pursuant to Medicaid

                  eligibility and approval, and/or a Medicaid MCO contract with NextLevel,

                  Beard submitted claims for necessary custodial care expenses under the

                  supportive living program to NextLevel. NextLevel has failed to provide to

                  Beard timely payment for supportive living facility services and custodial

                  care expenses pursuant to clean claims submitted to NextLevel for

                  payment. Beard has a significant outstanding balance owed to Grand

                  Lifestyles as a result of long-term care and services provided to him by

                  Grand Lifestyles.




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               s. Lee Thirsty was admitted to a Grand Lifestyles supportive living facility on

                  or about May 14, 2014 (“Thirsty” or “Plaintiff”). Thirsty suffers from major

                  depressive disorder, cognitive defects, and traumatic brain injury, among

                  other severe medical conditions. He requires medical care and assistance at

                  a Grand Lifestyles supportive living facility. Thirsty was approved to

                  receive long-term care Medicaid benefits at Grand Lifestyles. Pursuant to

                  Medicaid eligibility and approval, and/or a Medicaid MCO contract with

                  Cigna, for necessary custodial care expenses under the supportive living

                  program to Cigna. Cigna has failed to provide to Thirsty timely payment

                  for supportive living facility services and custodial care expenses pursuant

                  to clean claims submitted to Cigna for payment. Thirsty has a significant

                  outstanding balance owed to Grand Lifestyles as a result of long-term care

                  services provided to him by Grand Lifestyles.

               t. Terry Wright was admitted to a Grand Lifestyles supportive living facility

                  on or about April 9, 2014 (“Wright” or “Plaintiff”). Wright suffers from

                  major depressive disorder, among other severe medical conditions. He

                  requires medical care and assistance at a Grand Lifestyles supportive living

                  facility. Thirsty was approved to receive long-term care Medicaid benefits

                  at Grand Lifestyles. Pursuant to Medicaid eligibility and approval, and/or a

                  Medicaid MCO contract with Humana, Wright submitted claims for

                  necessary custodial care expenses under the supportive living program to

                  Humana. Humana has failed to provide to Wright timely payment for

                  supportive living facility services and custodial care expenses pursuant to



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                  clean claims submitted to Humana for payment. Wright has a significant

                  outstanding balance owed to Grand Lifestyles as a result of long-term care

                  services provided to him by Grand Lifestyles.

               u. Trudy Khan was admitted to an ICare skilled nursing facility on or about

                  October 27, 2016 (“Khan” or “Plaintiff”).            Khan suffers from

                  schizoaffective disorder, emphysema, and age-related osteoporosis, among

                  other severe medical conditions. She requires twenty-four hour skilled

                  nursing care at an ICare facility. Khan was approved to receive long-term

                  care Medicaid benefits at ICare. Pursuant to Medicaid eligibility and

                  approval, Khan submitted claims for necessary nursing facility

                  services/medical expenses to Community Care Alliance. Community Care

                  Alliance has failed to provide to Khan timely payment for nursing facility

                  services and/or necessary medical care expenses pursuant to clean claims

                  submitted to Community Care Alliance for payment. Khan has a significant

                  outstanding balance owed to ICare as a result of long-term care and nursing

                  facility services provided to her by ICare.

               v. Victorina Cruz was admitted to a Harmony skilled nursing facility on or

                  about May 18, 2015 (“Cruz” or “Plaintiff”). Cruz suffers from dementia,

                  chronic obstructive pulmonary disease, and tuberculosis, among other

                  severe medical conditions. She requires twenty-four hour skilled nursing

                  care at a Harmony facility. Cruz was approved to receive long-term care

                  Medicaid benefits at Harmony.        Pursuant to Medicaid eligibility and

                  approval, and/or a Medicaid MCO contract with Illinicare, Cruz submitted



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                  claims for necessary nursing facility services/medical expenses to Illinicare.

                  Illinicare has failed to provide to Cruz timely payment for nursing facility

                  services and/or necessary medical care expenses pursuant to clean claims

                  submitted to Illinicare for payment. Cruz has a significant outstanding

                  balance owed to Harmony as a result of long-term care and nursing facility

                  services provided to her by Harmony.

               w. Miguel Catala was admitted to a Harmony skilled nursing facility on or

                  about August 14, 2012 (“Catala” or “Plaintiff”). Catala suffers from major

                  depressive disorder, cerebrovascular disease, and blindness, among other

                  severe medical conditions. He requires twenty-four hour skilled nursing

                  care at a Harmony facility. Catala was approved to receive long-term care

                  Medicaid benefits at Harmony.        Pursuant to Medicaid eligibility and

                  approval, and/or a Medicaid MCO contract with Meridian, Catala submitted

                  claims for necessary nursing facility services/medical expenses to Meridian.

                  Meridian has failed to provide to Catala timely payment for nursing facility

                  services and/or necessary medical care expenses pursuant to clean claims

                  submitted to Meridian for payment. Catala has a significant outstanding

                  balance owed to Harmony as a result of long-term care and nursing facility

                  services provided to him by Harmony.

               x. Claudia Hale was admitted to a Harmony skilled nursing facility on or about

                  November 2, 2010 (“Hale” or “Plaintiff”). Hale suffers from Parkinson’s

                  disease, chronic obstructive pulmonary disease, and type 2 diabetes, among

                  other severe medical conditions. She requires twenty-four hour skilled



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                  nursing care at a Harmony facility. Hale was approved to receive long-term

                  care Medicaid benefits at Harmony. Pursuant to Medicaid eligibility and

                  approval, and/or a Medicaid MCO contract with Illinicare, Hale submitted

                  claims for necessary nursing facility services/medical expenses to Illinicare.

                  Illinicare has failed to provide to Hale timely payment for nursing facility

                  services and/or necessary medical care expenses pursuant to clean claims

                  submitted to Illinicare for payment. Hale has a significant outstanding

                  balance owed to Harmony as a result of long-term care and nursing facility

                  services provided to her by Harmony.

               y. Cecil Gittens was admitted to a Legacy skilled nursing facility on or about

                  October 3, 2014 (“Gittens” or “Plaintiff”). Gittens suffers from dementia,

                  muscle weakness, and heart failure, among other severe medical conditions.

                  She requires twenty-four hour skilled nursing care at a Legacy facility.

                  Gittens was approved to receive long-term care Medicaid benefits at

                  Legacy. Pursuant to Medicaid eligibility and approval, and/or a Medicaid

                  MCO with Community Care Alliance, Gittens submitted claims for

                  necessary nursing facility services/medical expenses to Community Care

                  Alliance. Community Care Alliance has failed to provide to Gittens timely

                  payment for nursing facility services and/or necessary medical care

                  expenses pursuant to clean claims submitted to Community Care Alliance

                  for payment. Gittens has a significant outstanding balance owed to Legacy

                  as a result of long-term care and nursing facility services provided to her by

                  Legacy.



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               z. Harry Mueller was admitted to a Legacy skilled nursing facility on or about

                  September 3, 2010 (“Mueller” or “Plaintiff”).        Mueller suffers from

                  schizoaffective disorder, schizophrenia, and chronic total occlusion of

                  coronary artery, among other severe medical conditions. He requires

                  twenty-four hour skilled nursing care at a Legacy facility. Mueller was

                  approved to receive long-term care Medicaid benefits at Legacy. Pursuant

                  to Medicaid eligibility and approval, and/or a Medicaid MCO contract with

                  BCBS, Mueller submitted claims for necessary nursing facility

                  services/medical expenses to BCBS. BCBS has failed to provide to Mueller

                  timely payment for nursing facility services and/or necessary medical care

                  expenses pursuant to clean claims submitted to BCBS for payment. Mueller

                  has a significant outstanding balance owed to Legacy as a result of long-

                  term care and nursing facility services provided to him by Legacy.

               aa. Glenda Buchholtz was admitted to a Legacy skilled nursing facility on or

                  about March 10, 2017 (“Buchholtz” or “Plaintiff”). Buchholtz suffers from

                  schizophrenia and end stage renal disease, among other severe medical

                  conditions. She requires twenty-four hour skilled nursing care at a Legacy

                  facility. Buchholtz was approved to receive long-term care Medicaid

                  benefits at Legacy. Pursuant to Medicaid eligibility and approval, and/or a

                  Medicaid MCO contract with Aetna Better Health, Buchholtz submitted

                  claims for necessary nursing facility services/medical expenses to Aetna

                  Better Health. Aetna Better Health has failed to provide to Buchholtz timely

                  payment for nursing facility services and/or necessary medical care



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                  expenses pursuant to clean claims submitted to Aetna Better Health for

                  payment. Buchholtz has a significant outstanding balance owed to Legacy

                  as a result of long-term care and nursing facility services provided to her by

                  Legacy.

               bb. Barbara Craddock was admitted to a Symphony skilled nursing facility on

                  or about July 16, 2016 (“Craddock” or “Plaintiff”). Craddock suffers from

                  end stage renal disease, type 2 diabetes, and major depressive disorder,

                  among other severe medical conditions. She requires twenty-four hour

                  skilled nursing care at a Symphony facility. Craddock was approved to

                  receive long-term care Medicaid benefits at Symphony.            Pursuant to

                  Medicaid eligibility and approval, and/or a Medicaid MCO contract with

                  Meridian, Craddock submitted claims for necessary nursing facility

                  services/medical expenses to Meridian. Meridian has failed to provide to

                  Craddock timely payment for nursing facility services and/or necessary

                  medical care expenses pursuant to clean claims submitted to Meridian for

                  payment.     Craddock has a significant outstanding balance owed to

                  Symphony as a result of long-term care and nursing facility services

                  provided to her by Symphony.

               cc. Daryl Jones was admitted to a Symphony skilled nursing facility on or about

                  September 25, 2015 (“Jones” or “Plaintiff”).            Jones suffers from

                  schizoaffective disorder, chronic kidney disease, and convulsions, among

                  other severe medical conditions. He requires twenty-four hour skilled

                  nursing care at a Symphony facility. Jones was approved to receive long-



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                  term care Medicaid benefits at Symphony. Pursuant to Medicaid eligibility

                  and approval, and/or a Medicaid MCO contract with BCBS, Jones

                  submitted claims for necessary nursing facility services/medical expenses

                  to BCBS. BCBS has failed to provide to Jones timely payment for nursing

                  facility services and/or necessary medical care expenses pursuant to clean

                  claims submitted to BCBS for payment. Jones has a significant outstanding

                  balance owed to Symphony as a result of long-term care and nursing facility

                  services provided to him by Symphony.

               dd. Crystal Garrett was admitted to a Symphony skilled nursing facility on or

                  about September 20, 2017 (“Garrett” or “Plaintiff”). Garrett suffers from

                  cognitive communication deficit, muscle weakness, and end stage renal

                  disease, among other severe medical conditions. She requires twenty-four

                  hour skilled nursing care at a Symphony facility. Garrett was approved to

                  receive long-term care Medicaid benefits at Symphony.          Pursuant to

                  Medicaid eligibility and approval, and/or a Medicaid MCO contract with

                  BCBS, Garrett submitted claims for necessary nursing facility

                  services/medical expenses to BCBS. BCBS has failed to provide to Garrett

                  timely payment for nursing facility services and/or necessary medical care

                  expenses pursuant to clean claims submitted to BCBS for payment. Garrett

                  has a significant outstanding balance owed to Symphony as a result of long-

                  term care and nursing facility services provided to her by Symphony.

               ee. Kirk Lis was admitted to a Symphony skilled nursing facility on or about

                  July 12, 2016 (“Lis” or “Plaintiff”). Lis suffers from atherosclerotic heart



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                  disease, type 2 diabetes, and history of falling, among other severe medical

                  conditions.   He requires twenty-four hour skilled nursing care at a

                  Symphony facility. Lis was approved to receive long-term care Medicaid

                  benefits at Symphony. Pursuant to Medicaid eligibility and approval,

                  and/or a Medicaid MCO contract with Meridian, Lis submitted claims for

                  necessary nursing facility services/medical expenses to Meridian. Meridian

                  has failed to provide to Lis timely payment for nursing facility services

                  and/or necessary medical care expenses pursuant to clean claims submitted

                  to Meridian for payment. Lis has a significant outstanding balance owed to

                  Symphony as a result of long-term care and nursing facility services

                  provided to him by Symphony.

               ff. Dannah Norwood was admitted to a Symphony skilled nursing facility on

                  or about May 14, 2013 (“Norwood” or “Plaintiff”). Norwood suffers from

                  cognitive communication deficit, chronic obstructive pulmonary disease,

                  and schizophrenia, among other severe medical conditions. She requires

                  twenty-four hour skilled nursing care at a Symphony facility. Norwood was

                  approved to receive long-term care Medicaid benefits at Symphony.

                  Pursuant to Medicaid eligibility and approval, and/or a Medicaid MCO

                  contract with CountyCare, Norwood submitted claims for necessary

                  nursing facility services/medical expenses to CountyCare. CountyCare has

                  failed to provide to Norwood timely payment for nursing facility services

                  and/or necessary medical care expenses pursuant to clean claims submitted

                  to CountyCare for payment. Norwood has a significant outstanding balance



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                  owed to Symphony as a result of long-term care and nursing facility services

                  provided to her by Symphony.

               gg. Idella Adell was admitted to a Villa skilled nursing facility on or about

                  November 19, 2013 (“Adell” or “Plaintiff”). Adell suffers from chronic

                  kidney disease, dementia, and neuromuscular dysfunction of bladder,

                  among other severe medical conditions. She requires twenty-four hour

                  skilled nursing care at a Villa facility. Adell was approved to receive long-

                  term care Medicaid benefits at Villa. Pursuant to Medicaid eligibility and

                  approval, and/or a Medicaid MCO contract with Meridian, Adell submitted

                  claims for necessary nursing facility services/medical expenses to Meridian.

                  Meridian has failed to provide to Adell timely payment for nursing facility

                  services and/or necessary medical care expenses pursuant to clean claims

                  submitted to Meridian for payment. Adell has a significant outstanding

                  balance owed to Villa as a result of long-term care and nursing facility

                  services provided to her by Villa.

               hh. Helen Emerson was admitted to a Villa skilled nursing facility on or about

                  January 9, 2017 (“Emerson” or “Plaintiff”). Emerson suffers from age-

                  related physical debility and carcinoma, among other severe medical

                  conditions. She requires twenty-four hour skilled nursing care at a Villa

                  facility. Emerson was approved to receive long-term care Medicaid benefits

                  at Villa. Pursuant to Medicaid eligibility and approval, and/or a Medicaid

                  MCO contract with BCBS, Emerson submitted claims for necessary

                  nursing faciliUty services/medical expenses to BCBS. BCBS has failed to



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                  provide to Emerson timely payment for nursing facility services and/or

                  necessary medical care expenses pursuant to clean claims submitted to

                  BCBS for payment. Emerson has a significant outstanding balance owed

                  to Villa as a result of long-term care and nursing facility services provided

                  to her by Villa.

               ii. Sophie Krasula was admitted to a Villa skilled nursing facility on or about

                  March 25, 2009 (“Krasula” or “Plaintiff”). Krasula suffers from dementia,

                  difficulty in walking, and convulsions, among other severe medical

                  conditions. She requires twenty-four hour skilled nursing care at a Villa

                  facility. Krasula was approved to receive long-term care Medicaid benefits

                  at Villa. Pursuant to Medicaid eligibility and approval, and/or a Medicaid

                  MCO contract with Meridian, Krasula submitted claims for necessary

                  nursing facility services/medical expenses to Meridian. Meridian has failed

                  to provide to Krasula timely payment for nursing facility services and/or

                  necessary medical care expenses pursuant to clean claims submitted to

                  Meridian for payment. Krasula has a significant outstanding balance owed

                  to Villa as a result of long-term care and nursing facility services provided

                  to her by Villa.

               jj. Johnnie King was admitted to a Villa skilled nursing facility on or about

                  April 6, 2016 (“King” or “Plaintiff”). King suffers from dementia, type 2

                  diabetes, and chronic ischemic heart disease, among other severe medical

                  conditions. He requires twenty-four hour skilled nursing care at a Villa

                  facility. King was approved to receive long-term care Medicaid benefits at



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                  Villa. Pursuant to Medicaid eligibility and approval, and/or a Medicaid

                  MCO contract with Meridian, King submitted claims for necessary nursing

                  facility services/medical expenses to Meridian. Meridian has failed to

                  provide to King timely payment for nursing facility services and/or

                  necessary medical care expenses pursuant to clean claims submitted to

                  Meridian for payment. King has a significant outstanding balance owed to

                  Villa as a result of long-term care and nursing facility services provided to

                  him by Villa.

               kk. James Hubbard was admitted to a Villa skilled nursing facility on or about

                  April 6, 2016 (“Hubbard” or “Plaintiff”).      Hubbard suffers from acute

                  kidney failure and cerebral infarction, among other severe medical

                  conditions. He requires twenty-four hour skilled nursing care at a Villa

                  facility. Hubbard was approved to receive long-term care Medicaid benefits

                  at Villa. Pursuant to Medicaid eligibility and approval, and/or a Medicaid

                  MCO contract with Aetna Better Health, Hubbard submitted claims for

                  necessary nursing facility services/medical expenses to Aetna Better Health.

                  Aetna Better Health has failed to provide to Hubbard timely payment for

                  nursing facility services and/or necessary medical care expenses pursuant to

                  clean claims submitted to Aetna Better Health for payment. Hubbard has a

                  significant outstanding balance owed to Villa as a result of long-term care

                  and nursing facility services provided to him by Villa.

               ll. Luvenia Stevenson was admitted to a Villa skilled nursing facility on or

                  about January 23, 2017 (“Stevenson” or “Plaintiff”).      Stevenson suffers



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                            from dementia and type 2 diabetes, among other severe medical conditions.

                            She requires twenty-four hour skilled nursing care at a Villa facility.

                            Stevenson was approved to receive long-term care Medicaid benefits at

                            Villa. Pursuant to Medicaid eligibility and approval, and/or a Medicaid

                            MCO contract with Meridian, Stevenson submitted claims for necessary

                            nursing facility services/medical expenses to Meridian. Meridian has failed

                            to provide to Stevenson timely payment for nursing facility services and/or

                            necessary medical care expenses pursuant to clean claims submitted to

                            Meridian for payment. Stevenson has a significant outstanding balance

                            owed to Villa as a result of long-term care and nursing facility services

                            provided to her by Villa.

        11.     Aetna Medicaid Administrators, LLC, d/b/a Aetna Better Health, Inc. (“Aetna Better

Health” or “Defendant MCO”) is a Connecticut corporation doing business in the State of Illinois.

Aetna Better Health has contracted with certain Illinois supportive living and/or skilled nursing home

facilities to provide Medicaid benefits to residents of these supportive living and/or skilled nursing home

facilities who are approved to receive long-term care Medicaid benefits.

        12.     Meridian Health Plan, Inc. (“Meridian Health Plan” or “Defendant MCO”) is Michigan

corporation doing business in the State of Illinois. Meridian Health Plan has contracted with certain

Illinois supportive living and/or skilled nursing home facilities to provide Medicaid benefits to residents

of these supportive living and/or skilled nursing home facilities who are approved to receive long-term

care Medicaid benefits.

        13.     Community Care Alliance of Illinois, LLC. (“Community Care Alliance” or

“Defendant MCO”) is an Illinois Corporation doing business in the State of Illinois. Community Care



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Alliance has contracted with certain Illinois supportive living and/or skilled nursing home facilities to

provide Medicaid benefits to residents of these supportive living and/or skilled nursing home facilities

who are approved to receive long-term care Medicaid benefits.

        14.     Healthcare Service Corporation, d/b/a Blue Cross Blue Shield of Illinois (“BCBS” or

“Defendant MCO”) is an Illinois Corporation doing business in the State of Illinois. BCBS has

contracted with certain Illinois supportive living and/or skilled nursing home facilities to provide

Medicaid benefits to residents of these supportive living and/or skilled nursing home facilities who are

approved to receive long-term care Medicaid benefits.

        15.     Illinicare Health Plan, Inc. (“Illinicare” or “Defendant MCO”) is an Illinois Corporation

doing business in the State of Illinois. Illinicare has contracted with certain Illinois supportive living

and/or skilled nursing home facilities to provide Medicaid benefits to residents of these supportive living

and/or skilled nursing home facilities who are approved to receive long-term care Medicaid benefits.

        16.     Cook County is a municipal government within the State of Illinois. Cook County

Health and Hospitals System is an agency of the government of Cook County, Illinois. Cook County

Health and Hospitals Systems, through CountyCare Health Plan, (“CountyCare” or “Defendant

MCO”), has contracted with certain Illinois supportive living and/or skilled nursing home facilities to

provide Medicaid benefits to residents of these supportive living and/or skilled nursing home facilities

who are approved to receive long-term care Medicaid benefits.

        17.     NextLevel Health Partners, Inc. (“NextLevel” or “Defendant MCO”) is an Illinois

Corporation doing business in the State of Illinois. NextLevel has contracted with certain Illinois

supportive living and/or skilled nursing home facilities to provide Medicaid benefits to residents of these

supportive living and/or skilled nursing home facilities who are approved to receive long-term care

Medicaid benefits.



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        18.     WellCare Health Plans, Inc. (“WellCare” or “Defendant MCO”) is Florida Corporation

doing business in the State of Illinois. WellCare has contracted with certain Illinois supportive living

and/or skilled nursing home facilities to provide Medicaid benefits to residents of these supportive living

and/or skilled nursing home facilities who are approved to receive long-term care Medicaid benefits.

        19.     Cigna Corporation, d/b/a Cigna-HealthSpring CarePlan of Illinois (“Cigna” or

“Defendant MCO”) is Delaware Corporation doing business in the State of Illinois. Cigna has

contracted with certain Illinois supportive living and/or skilled nursing home facilities to provide

Medicaid benefits to residents of these supportive living and/or skilled nursing home facilities who are

approved to receive long-term care Medicaid benefits.

        20.     Humana, Inc. (“Humana” or “Defendant MCO”) is Kentucky Corporation doing

business in the State of Illinois. Humana has contracted with certain Illinois supportive living and/or

skilled nursing home facilities to provide Medicaid benefits to residents of these supportive living and/or

skilled nursing home facilities who are approved to receive long-term care Medicaid benefits.

        21.     Molina Healthcare of Illinois, Inc. (“Molina” or “Defendant MCO”) is an Illinois

Corporation doing business in the State of Illinois. Molina has contracted with certain Illinois supportive

living and/or skilled nursing home facilities to provide Medicaid benefits to residents of these supportive

living and/or skilled nursing home facilities who are approved to receive long-term care Medicaid

benefits.

        22.     The Illinois Department of Healthcare and Family Services (“HFS” or

“Defendant”) is an Illinois state agency that provides Medicaid services to enrollees in Illinois.

HFS is the sole state agency administering Medicaid in the State of Illinois.




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        23.     The Felicia F. Norwood, is the Director of HFS (“Norwood” or “Defendant”), and at all

times material to this Complaint acted under color of state law in administering the regulations, customs,

policies, and practices material herein. She is sued in her official capacity only.

                                    IV. CLASS ALLEGATIONS

        A.      COMMON QUESTIONS OF LAW AND FACT.

        The named Plaintiffs are members of the class they seek to represent. The class consists

of residents/Medicaid beneficiaries residing at supportive living or skilled nursing facilities, who

were provided twenty-four hour skilled nursing care and supportive living services. All Plaintiffs

were insolvent and/or medically needy and/or disabled and entitled to receive Medicaid benefits

pursuant to federal and state law and are “qualified individuals with a disability,” as defined under

the ADA, 42 U.S.C. § 12132 et. seq. and the Rehabilitation Act, 28 C.F.R. § 35.130 et. seq. The

Defendants violated Plaintiffs’ rights by not providing for nursing facility services for eligible and

approved qualified residents residing at supportive living and/or nursing home facilities. These

actions by Defendants violate the Federal Medicaid Act, 42 U.S.C. §§ 1396a(a)(8) 1396a(a)(10).

        The Plaintiffs seek an Order from the Court providing injunctive relief by issuing an Order

from the Court requiring the Defendants to provide for supportive living and/or nursing facility

services for all approved Medicaid claims submitted by Plaintiffs pursuant to 42 U.S.C. §§

1396(a), 1902(a)(37)(A).

        B.      TYPICALITY OF CLAIMS AND RELIEF SOUGHT

    The claims of the named Plaintiffs and the relief necessary to remedy the claims of the named

Plaintiffs are the same as the claims of the putative class members and the relief necessary to

remedy the claims of the putative class members. The Plaintiffs seek an Order from the Court

providing injunctive relief by issuing an Order from the Court requiring the Defendant to provide



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for nursing facility services for all approved Medicaid claims submitted by Plaintiffs pursuant to

42 U.S.C. §§ 1396(a), 1902(a)(37)(A).

       C.      NUMEROSITY AND IMPRACTICABILITY OF JOINDER

       The class which Plaintiffs seek to represent are too numerous to make joinder practicable.

        D.     ADEQUACY OF REPRESENTATION

       The class’ representatives’ interests are coextensive with those of the putative class in that

each seeks to remedy Defendants’ violations herein stated. The class representatives are able and

willing to represent the putative class fairly and vigorously as they pursue their common claims

through this action. Plaintiffs’ counsel is also qualified, experienced, and able to conduct the

litigation and to meet the time and fiscal demands required to litigate a class action of this size

and complexity. The combined interest, experience and resources of the named Plaintiffs and

their counsel to litigate competently the individual and class’ claims satisfy the adequacy of

representation requirement.

       E.      EFFICIENCY OF CLASS PROSECUTION OF COMMON CLAIMS

       Certification of class of similarly situated Medicaid beneficiaries, who were adversely

treated as stated above under the Act is the most efficient and economical means of resolving the

questions of law and fact that are common to the individual claims of the named Plaintiffs and the

putative class. The individual claims of the named Plaintiffs and those of the putative class require

resolution of the common question of whether the Defendants have engaged in adverse treatment

of Medicaid beneficiaries. The named Plaintiffs seek for themselves and the putative class

remedies to eliminate the Defendants’ violations. The named Plaintiffs have standing to seek such

relief. Without class certification, the same evidence and issues would be subject to repeated re-

litigation in a multitude of individual lawsuits with an attendant risk of inconsistent adjudications



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and conflicting obligations. Certification of the class of individuals as defined by the Class

Definition herein, as those affected by these common questions of law and fact, is the most

efficient and judicial means of presenting the evidence and arguments necessary to resolve such

questions for the named Plaintiffs, the putative class, and the Defendants.

       F.      REQUIREMENTS OF RULE 23(b)(2)

       The Defendants have acted on grounds generally applicable to the class by violating the

rights of the Plaintiff residents/Medicaid beneficiaries as stated herein. The Defendants’ actions

have violated federal and state laws. Therefore, the Defendants’ adverse actions have made

temporary and permanent injunctive relief and corresponding declaratory relief appropriate with

respect to the named Plaintiffs and putative class as a whole. Injunctive and declaratory relief is

the predominate relief sought. Declaratory and injunctive relief flow directly and automatically

from proof of the common questions of law and fact regarding the existence of the denial of

benefits and the failure to comply with Federal regulations. Such relief is the factual and legal

predicate for the named Plaintiffs’ and class members’ entitlement to monetary and non-monetary

remedies for losses caused by such treatment. The Plaintiff residents/Medicaid beneficiaries and

the similarly situated individuals are similar because their rights are the same, their classifications

are the same, and their harm is the same. The Plaintiffs and the similarly situated individuals meet

the collective action requirements of commonality, typicality and numerosity.

       G.      CLASS’ DEFINITION

       The class consists of:

       All disabled and/or medically needy persons who require medical care at a Bria, Aperion,
       ICare, Legacy, Harmony, Symphony, Villa, Everest, and/or Grand Lifestyles network of
       supportive living and/or skilled nursing facilities, who are eligible for and approved to
       receive Medicaid benefits pursuant to Medicaid eligibility and approval and/or a contract
       with one or more Defendant MCOs, and who have submitted Medicaid claims to any of
       the Defendant MCOs and have failed to receive payment for said claim(s) pursuant to the

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       Defendant MCOs’ requirement to provide for claims payment procedures which ensure
       that 90 per centum of claims for payment made for services covered under the plan are paid
       within 30 days of the date of receipt of such claims and that 99 per centum of such claims
       are paid within 90 days of the date of the receipt of such claims.


                                  V. STATEMENT OF FACTS

       1.      The named Plaintiffs are members of the class they seek to represent. The class

consists of supportive living and/or nursing facility residents residing at facilities, who were

provided twenty-four hour skilled nursing care and/or supportive living services, and who were

insolvent and/or disabled, and entitled to receive Medicaid benefits pursuant to federal and state

law and are “qualified individuals with a disability,” as defined under the ADA, 42 U.S.C. §

12132 et. seq. and 28 C.F.R. § 35.130 et. seq.

       2.      The Illinois State Medicaid Plan operates under the statutory authority of Title XIX

of the Social Security Act Medical Assistance Program.

       3.      As a condition of receiving federal funds, Defendant HFS is required to administer

the Medicaid program in the state of Illinois in compliance with the Federal Medicaid Act, 42

U.S.C. § 1396a(a)(8), and implementing regulations.

       4.      Defendant HFS contracts with Defendant MCOs to provide health care services for

patients who qualify for Medicaid in the state of Illinois.

       5.      The actions of the MCOs as alleged herein are imputed to Defendant HFS.

       6.      The Defendant MCOs acted under color of state law for purposes of 42 U.S.C. §

1983 as Defendant MCOs are willing participants in joint action with Defendant HFS.

       7.      Defendant MCOs and Defendant HFS jointly acted and/or conspired against

Plaintiffs by failing to comply with the Federal Medicaid Act with respect to submitting to

Plaintiffs Medicaid benefits for which they are eligible for and are approved to receive.



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       8.       Defendant MCOs acted, pursuant to its contract with Defendant HFS, as the state

actor in providing Medicaid benefits to Plaintiffs.

       9.       Pursuant to 42 U.S.C. § 1396u-2 and 42 C.F.R. § 438.10 states may choose to

contract with MCOs in the administration of the state’s Medicaid program.

       10.      Pursuant to 42 U.S.C. §§ 1396(a), 1902(a)(37)(A), the MCOs are required to

provide for claims payment procedures which “ensure that 90 per centum of claims for payment

made for services covered under the plan…are paid within 30 days of the date of receipt of such

claims and that 99 per centum of such claims are paid within 90 days of the date of the receipt of

such claims.”

       11.      Defendant MCOs have failed to reimburse the Plaintiff residents/Medicaid

beneficiaries within the time periods mandated by federal law.

       12.      As a direct result of the MCOs failure to reimburse Medicaid claims to the

supportive living and/or skilled nursing facilities, the Plaintiff residents/Medicaid beneficiaries

have failed to receive public assistance and necessary medical benefits to which they are entitled

pursuant to federal law.

       13.      Defendant HFS and Defendant MCOs have failed to provide a system which

ensures that medical assistance will be available, including at least the care and services listed in

paragraphs (1) through (5) of 42 U.S.C. § 1396d(a), to all individuals meeting specified financial

eligibility standards, as required under 42 U.S.C. § 1396a(a)(10).

       14.      As a direct result of the Defendant’s failure to timely process their Medicaid

benefits and claims, Plaintiff residents/Medicaid beneficiaries have failed to receive supportive

living and/or nursing facility services provided by Defendants, which they are entitled pursuant to

federal law.



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       15.    In light of the Defendants’ failure to comply with federal and state Medicaid laws,

the Plaintiff residents/Medicaid beneficiaries have been unable to pay for their room, board, care

and services as Defendants have failed to provide the medical benefits Plaintiff

residents/Medicaid beneficiaries are entitled to.

       16.    Such actions by the Defendants places the Plaintiff residents/Medicaid

beneficiaries at risk of being discharged from the supportive living and/or nursing home facility

where they receive medical care and supportive living and/or nursing facility services, and

jeopardizes their health, safety, and well-being.

      17.     All of the Plaintiff residents/Medicaid beneficiaries are “qualified individuals with

a disability,” as defined under the ADA, 42 U.S.C. § 12132 et. seq., the Rehabilitation Act of

1973, 29 U.S.C. § 705 et. seq., and 28 C.F.R. § 35.130 et. seq.

       18.    The Defendants’ failure to afford the Plaintiff residents/Medicaid beneficiaries

public benefits and services, to which they are entitled under federal law, and failure to grant the

Plaintiff residents/Medicaid beneficiaries Medicaid benefits as a reasonable accommodation,

constitutes actual or predictable discrimination in violation of the ADA, 42 U.S.C. § 12132 et

seq., the Rehabilitation Act of 1973, 29 U.S.C. § 705 et. seq., and 28 C.F.R. § 35.130 et seq.

       19.    By failing to pay for services rendered to persons eligible for and approved to

receive Medicaid benefits, the Defendants have failed to comply with federal law, as preempted

by the Supremacy Clause of the United States Constitution, Article VI. The burden placed on the

Defendants, should the Court grant the relief requested in this action, is that Defendants will be

required to comply with federal Medicaid laws and provide for supportive living and/or nursing

facility services to Plaintiffs. The Defendants stand to suffer diminutive, if any, burden by the




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 timely rendering of payment of Plaintiffs’ Medicaid claims to Plaintiff residents/Medicaid

 beneficiaries.

                                        VI. CAUSES OF ACTION

                      COUNT ONE - DECLARATORY JUDGMENT RELIEF

       20.        Plaintiffs incorporate all paragraphs set out above as if fully set out herein.

       21.        Pursuant to 28 U.S.C. § 2201, and Rule 57 of the Federal Rules of Civil Procedure,

Plaintiffs seek a declaration by this Court.

       22.        It is well settled that the district court’s exercise of discretion in a declaratory

judgment action should be informed by a number of prudential factors, including: (1)

considerations of practicality and efficient judicial administration; (2) the functions and limitations

of the federal judicial power; (3) traditional principles of equity, comity, and federalism; (4)

Eleventh Amendment and other constitutional concerns; and (5) the public interest. Smith &

Usaha, supra note 2, at 116, citing . Wilton v. Seven Falls Company, 515 U.S. 288 (1995); Green

v. Mansour, 474 U.S. 64, 72-74 (1985); Rickover, 369 U.S. 111 at 112-13; Public Service

Commission of Utah v. Wycoff Company, 344 U.S. 237, 243-47 (1952). Perhaps the most important

factors are whether a declaratory judgment will serve a useful purpose and resolve the controversy

between the parties. Smith & Usaha, supra note 2, at 116 (collecting cases); Wilton, 515 U.S. at

288; Green v. Mansour, 474 U.S. 64, 74 (1985); Rickover, 369 U.S. 111 at 112-13G; Wycoff, 344

U.S. at 244.

       23.        The Illinois State Medicaid Plan operates under the statutory authority of Title XIX

of the Social Security Act Medical Assistance Program.




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       24.      As a condition of receiving federal funds, Defendant HFS is required to administer

the Medicaid program in the state of Illinois in compliance with the Federal Medicaid Act, 42

U.S.C. § 1396a(a)(8), and implementing regulations.

       25.      Defendant HFS contract with Defendant MCOs to provide health care services for

patients who qualify for Medicaid in the state of Illinois.

       26.      The actions of the MCOs as alleged herein are imputed to Defendant HFS.

       27.      Defendant MCOs and Defendant HFS jointly acted and/or conspired against

Plaintiffs by failing to comply with the Federal Medicaid Act with respect to submitting to

Plaintiffs Medicaid benefits for which they are eligible for and are approved to receive.

       28.      Pursuant to 42 U.S.C. § 1396u-2 and 42 C.F.R. § 438.10 states may choose to

contract with MCOs in the administration of the state’s Medicaid program.

       29.      Pursuant to 42 U.S.C. §§ 1396(a), 1902(a)(37)(A), the MCOs are required to

provide for claims payment procedures which “ensure that 90 per centum of claims for payment

made for services covered under the plan…are paid within 30 days of the date of receipt of such

claims and that 99 per centum of such claims are paid within 90 days of the date of the receipt of

such claims.”

       30.      Defendant MCOs have failed to reimburse the Plaintiff residents/Medicaid

beneficiaries within the time periods mandated by federal law.

       31.      As a direct result of the MCOs failure to reimburse Medicaid claims to the

supportive living and/or skilled nursing facilities, the Plaintiff residents/Medicaid beneficiaries

have failed to receive public assistance and necessary medical benefits to which they are entitled

pursuant to federal law.




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       32.     Defendant HFS and Defendant MCOs have failed to provide a system which

ensures that medical assistance will be available, including at least the care and services listed in

paragraphs (1) through (5) of 42 U.S.C. § 1396d(a), to all individuals meeting specified financial

eligibility standards, as required under 42 U.S.C. § 1396a(a)(10).

       33.     As a direct result of the Defendant’s failure to timely process their Medicaid

benefits and claims, Plaintiff residents/Medicaid beneficiaries have failed to receive supportive

living and/or nursing facility services provided by Defendants, which they are entitled pursuant to

federal law.

        34.    In light of the Defendants’ failure to comply with federal and state Medicaid laws,

the Plaintiff residents/Medicaid beneficiaries have been unable to pay for their room, board, care

and services as Defendants have failed to provide the medical benefits Plaintiff

residents/Medicaid beneficiaries are entitled to.

        35.    Such actions by the Defendants places the Plaintiff residents/Medicaid

beneficiaries at risk of being discharged from the supportive living and/or nursing home facility

where they receive medical care and nursing facility services, and jeopardizes their health, safety,

and well-being.

       36.     All of the Plaintiff residents/Medicaid beneficiaries are “qualified individuals with

a disability,” as defined under the ADA, 42 U.S.C. § 12132 et. seq., the Rehabilitation Act of

1973, 29 U.S.C. § 705 et. seq., and 28 C.F.R. § 35.130 et. seq.

        37.    The Defendants’ failure to afford the Plaintiff residents/Medicaid beneficiaries

public benefits and services, to which they are entitled under federal law, and failure to grant the

Plaintiff residents/Medicaid beneficiaries Medicaid benefits as a reasonable accommodation,




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constitutes actual or predictable discrimination in violation of the ADA, 42 U.S.C. § 12132 et

seq., the Rehabilitation Act of 1973, 29 U.S.C. § 705 et. seq., and 28 C.F.R. § 35.130 et seq.

        38.      By failing to pay for services rendered to persons eligible for and approved to

receive Medicaid benefits, the Defendants have failed to comply with federal law, as preempted

by the Supremacy Clause of the United States Constitution, Article VI. The burden placed on the

Defendants, should the Court grant the relief requested in this action, is that Defendants will be

required to comply with federal Medicaid laws and provide for supportive living and/or nursing

facility services to Plaintiffs. The Defendants stand to suffer diminutive, if any, burden by the

timely rendering of payment of Plaintiffs’ Medicaid claims to Plaintiff residents/Medicaid

beneficiaries.

        39.      Plaintiffs seek a declaratory judgment from this Court declaring that Defendants

are in violation of the Federal Medicaid Act by failing to timely submit to Plaintiff

residents/Medicaid beneficiaries medical benefits as required under 42 U.S.C. §§ 1396(a),

1902(a)(37)(A) and for its failure to ensure that medical assistance will be available, including at

least the care and services listed in paragraphs (1) through (5) of 42 U.S.C. § 1396d(a), to all

individuals meeting specified financial eligibility standards, as required under 42 U.S.C. §

1396a(a)(10).

       COUNT TWO - VIOLATION OF THE FEDERAL MEDICAID ACT’S MEDICAL
         ASSISTANCE, AND NURSING FACILITY SERVICES MANDATE

       40.        The Plaintiffs incorporate all paragraphs set out above as if fully set out herein.

       41.        In violation of the medical assistance and nursing facility services provisions of

the Medicaid Act, 42 U.S.C. §§ 1396a(a)(10)(A), 1396d(a)(4)(A), the Defendants, while acting

under the color of law, have failed to provide the Plaintiff residents/Medicaid beneficiaries with




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supportive living and/or nursing facility services necessary for the health and welfare of these

disabled Plaintiffs.

        42.       The Defendants’ violations, which have been repeated and knowing, entitle the

Plaintiffs to relief under 42 U.S.C. § 1983.

         COUNT THREE - VIOLATION OF THE FEDERAL MEDICAID ACT’S
                 REASONABLE PROMPTNESS REQUIREMENT

        43.       The Plaintiffs incorporate all paragraphs set out above as if fully set out herein.

        44.       The Plaintiffs residents/Medicaid beneficiaries are all Medicaid-eligible

individuals who require supportive living and/or nursing facility services and reside in Illinois.

        45.       The Defendants are engaged in the repeated, ongoing failure to arrange and

provide medical assistance and supportive living and/or nursing facility services despite the fact

that medical assistance and supportive living and/or nursing facility services are medically

necessary for all named Plaintiffs.

        46.       In violation of 42 U.S.C. § 1396a(a)(8) of the Federal Medicaid Act, the

Defendants, while acting under the color of law, failed to provide services to the Plaintiffs with

“…reasonable promptness…”. Furthermore, the Defendant is required to administer the

Medicaid program in compliance with 42 C.F.R. §435.930 (requiring applicants be afforded

Medicaid benefits without any delay).

        47.       The Defendants’ violations, which have been repeated and knowing, entitle the

Plaintiffs to relief under 42 U.S.C. § 1983.

               COUNT FOUR – VIOLATION OF THE “AMERICANS WITH
                   DISABILITIES ACT” (“ADA”), 42 U.S.C. §12132

        48.     The Plaintiffs incorporate all paragraphs set out above as if fully set out herein.




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       49.     The Defendants have failed to provide a system which ensures that medical

assistance will be available, including at least the care and services listed in paragraphs (1) through

(5) of 42 U.S.C. § 1396d(a), to all individuals meeting specified financial eligibility standards, as

required under 42 U.S.C. § 1396a(a)(10).

       50.     All of the Plaintiffs are “qualified individuals with a disability,” as defined under

the ADA, 42 U.S.C. § 12132 et. seq. and 28 C.F.R. § 35.130 et. seq.

       51.     The Defendant’s failure to afford the Plaintiffs public benefits and services, to

which they are entitled under federal law, and failure to grant the residents Medicaid benefits as a

reasonable accommodation, constitutes actual or predictable discrimination in violation of the

ADA, 42 U.S.C. § 12132 et seq. and 28 C.F.R. § 35.130 et seq.

       52.     As a consequence of’ Defendant’s actions as described herein, Plaintiffs have

suffered damages, including compensatory, mental anguish and other damages.

                COUNT FIVE – VIOLATION OF THE REHABILITATION
                           ACT OF 1973, 29 U.S.C. § 794

       53.     The Plaintiffs incorporate all paragraphs set out above as if fully set out herein.

       54.     Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, prohibits public entities and

recipients of federal funds from discriminating against any individual by reason of disability.

Policies, practices, and procedures that have the effects of unjustifiably denying access to public

services and benefits to persons with disabilities constitute prohibited discrimination under the

Rehabilitation Act.

       55.     Defendants are recipients of federal funds under the Rehabilitation Act. The

Plaintiffs are qualified individuals with a disability under Section 504 of the Rehabilitation Act.

       56.     The actions by Defendants constitute unlawful discrimination under 29 U.S.C. §

794(a), violate the mandate that no qualified handicapped person should be denied benefits on the

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basis of handicap, and violate the regulations implementing this statutory prohibition. 28 C.R.R.

§ 41.51(d).

        57.     Plaintiffs are individuals who require supportive living and/or skilled nursing care

for their health, welfare, and survival. The Defendant’s failure to provide supportive living and/or

nursing facility services to Plaintiffs violates § 504 of the Rehabilitation act of 1973 and its

implementing regulations.

        58.     As a consequence of’ Defendant’s actions as described herein, Plaintiffs have

suffered damages, including compensatory, mental anguish and other damages.

                       COUNT SIX – VIOLATION OF DUE PROCESS
                       AND EQUAL PROTECTION (42 U.S.C. § 1983)

        59.     The Plaintiffs incorporate all paragraphs set out above as if fully set out herein

        60.     Defendants deprived Plaintiffs of their property interest to which Plaintiffs have a

legitimate claim of entitlement. The procedures implemented by Defendants to deprive Plaintiffs

of their property interest are constitutionally insufficient.

        61.     To comply with the procedural Due Process guarantees under the United States

Constitution, the Defendants must provide the Plaintiffs with a meaningful notice that apprises

them of the reasons for a denial of assistance, the authority for the denial, and an opportunity to

appeal such denial of assistance.

        62.     Plaintiffs are entitled to a hearing when such benefits are denied to them, or

sought to be terminated, or recouped, or sought to be recouped, for the reasons enumerated under

the Federal Medicaid act.

        63.     Defendants’ failure to allow for a sufficient hearing process for with respect to

Plaintiffs’ interest in Medicaid benefits, does not adequately apprise Plaintiffs of the actions

against them, or of the reasons for actions taken against them, or the authority for the actions

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taken against them. Such actions by Defendants are inconsistent with the Due Process Clause of

the United States Constitution, Amendment XIV and the Medicaid Act, Title XIX of the Social

Security Act, Title 42 § 1396a, et seq., and its implementing regulations.

        64.     Defendants have deprived Plaintiff of his property interests under color of law

without due process of law in violation of the Due Process Clause of the Fifth and Fourteenth

Amendments to the United States Constitution.

        65.     Plaintiffs’ property interests are of a type protected by the Fifth and Fourteenth

Amendments to the United States Constitution.

        66.      Plaintiffs possess a legitimate claim of entitlement and justifiable expectation in

their property interests.

        67.     The Defendants acted wilfully, knowingly, and purposefully with the specific

intent to deprive Plaintiffs of their rights, privileges, and immunities secured by the Constitution

and laws by the Fourteenth Amendment to the Constitution of the United States and by 42

U.S.C. §1983.

        68.     The above acts were committed under color of state law by the Defendants. Said

acts were committed by the Defendants by and through representatives of the Defendants acting

under color of state law and in their official capacities pursuant to the statutes, ordinances, laws

and policies of the Defendants.

              COUNT SEVEN – TEMPORARY AND PERMANENT INJUNCTION

        69.     The Plaintiffs incorporate all paragraphs set out above as if fully set out herein.

        70.     The above acts were committed under color of state law by the Defendant. Said acts

were committed by and through representatives of the Defendants acting in their official capacities

pursuant to the statutes, ordinances, laws and policies of the Defendants.



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        71.     The Plaintiffs demand temporary and permanent injunctive relief requiring that the

Defendant provide for supportive living and/or nursing facility services for approved Medicaid

benefits and claims.

        72.     Issue an Order requiring the Defendants to automatically provide for nursing

facility services to Plaintiffs.

                                   VII. REQUESTS FOR RELIEF


        1.      Certify this case to proceed as a class action under Fed. R. Civ. P. 23(b)(2);

        2.      Issue a Declaratory Judgment in favor of the Plaintiffs and the Class, requiring

Defendant to adhere to the requirements of the Medicaid Act, the Americans with Disabilities Act,

and the Rehabilitation Act;

        3.      Declare unlawful the Defendant’s failure to arrange for medical assistance and/or

supportive living and/or nursing facility services to the Plaintiffs and Class;

        4.      Issue Preliminary and Permanent Injunctive relief enjoining the Defendant from

subjecting the Plaintiffs and the Class to practices that violate their rights under the Medicaid Act,

the Americans with Disabilities Act, and the Rehabilitation Act;

        5.      Issue Preliminary and Permanent Injunctive relief requiring the Defendant to

arrange for medical assistance and/or supportive living and/or nursing facility services to the

Plaintiffs and Class pursuant to the requirements of 42 U.S.C. §§ 1396(a), 1902(a)(37)(A);

        6.      Award Plaintiffs and the Class the costs of this action, including reasonable

attorneys’ fees, pursuant to 42 U.S.C. § 12205; § 504 of the Rehabilitation Act, and 42 U.S.C. §

1988; and,

        7.      Award such other relief as the Court deems just and appropriate, including, but not

limited to, compensatory and punitive damages, interest, expenses and costs.

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PLAINTIFFS HEREBY DEMAND A TRIAL BY JURY.

                                        Respectfully submitted,

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